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UNI`[`L".D STATES DISRICT COI.JRT
FOR TI‘IE
NORTHERN DISTR]CT OF ll .I.TNG`|S
219 SOU'.I"I-l DEARBDRN STREET

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causes ToLBF§§RE C E |V E D class No. JUDGE KOCORAS

vs
FE;ra 04 2005 JUDGE=
llllldl-IAEL w. medina JURY DEMAN'D; MA
- - -- G.lSTFlAT . -
dillll-. \M= dimmed adm 1 _` ` GERALDINE ."_,`Ci:t|:-:\'}!'l.rl
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JorNTr.Y AND sva-;RAL.
ostir.-'ND ANT(s).
clVrL RrGHTS COMPLAINT

This is a civil rights complaint with a jury demahd, by F’|aintitf, GEORGE
TOLBERT, alleging Discn`mination, ElAS, Harassment, Piaintifl Toibert is stii| under the jurisdiction of
the illinois Department of Gorrectiohs as a parolee, and is exercising his pro se litigation rights at all
times relevant to this civil complaint

This court has jurisdiction over this complaint according to 28 USC 1963,
P|aintiff invokes other pendingjurisdictions relevantto this civil complaintl

COMPLA|NT

On Monday January 31, 2005 plaintif|‘, Toll:lert parked his car on 59“' street

Miclway P|aisanoe , because it was experiencing some mechanical problems Al:\ove named
defendants of the University of Chicago Campus Police accosted plaintiff and asked him what he was
doing around here_ Plaintifl‘ Tolbert stated that his llr was experiencing problems and that plaintiff

 

 

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parked on the midway to keep it out of traffic P|aintiff was legally parked on a city of Chicago street

Plaintiff was going to make a phone cali for help. P|aintiff has for 20 years had problems with the
University of Chicago campus police in some capacity every time defendants see him. The defendants
do not be on the trail of piaintiff, they are on the trait cf another offender and plaintiff does not meet the
description of the offender they have a complaint on. P|aintiff has always been harassed by these
defendants of the University of Chicago campus police under the fenner police to the newiy recruited
police in some fashion for the last twenty years. Piaintif'f Tolbert after all these years of being in contact
with these defendant U of C police has never been charged with nothing no serious than misdemeanor
charges of trespassing

P|aintiff has never stolen any property from any student or personnel of the University
of Chicago campus cr has been identified as a perpetrator of any serious (feiony}
offense in or around the University of Chicago campus or property, P|aintiff alleged
campus rap sheet of twenty years witt verify this allegation On above date plaintiff
was wrestled down by the defendants Ll of C campus police for refusing to give his
name because there was no complaint against him while he was on city of Chicago
property whereas a student kept blocking plaintiffs path on city of Chicago street
holding plaintiff temporarily hostage without touching plaintiff but blocking his path
white police proceeded to wrestle plaintiff tc the ground put a knee to back of his
wind pipe and stopped his breathing cutting his wrist very badly on left arm and very
badly skinning his left knee and scraping his right eye at the corner orr the city of
Chicago street concrete Piaintiff asked defendants campus police why was they
using this unnecessary force against him_ P|aintiff never brandished a weapon
aithough, piaintiff tried to mn to come from under this unnecessary bn.rta|ity only to be
charged with a misdemeanor trespass (criminal) although plaintiff has not been on or
around that university for neariy fifteen years

This incident with above-
named defendants of the U of G campus police happened orr or about 3:00pm in the
afternoon while defendants humiiiated plaintiff in front of crowds only to charge him
with a trespassing Defendants caused plaintiffs car to get towed by staying on the
Midway P|aisance over night with a tow bill of as of today $160.00 when plaintiff finally
found what company towed on the Midway early this morning orr date of Tuesday,
February 01, 2005 upon plaintiffs release from custody P|aintiff was caused
unnecessary pain and suffering by the hands of the defendants because of their
unprofessional wanton and reckless conduct with malice P|aintiff once lived in the
neighborhood of that University about twenty years ago and moved out of the

 

 

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neighborhood because of the constant harassment of the University le Chicago
defendant police acting with malicious aforethought against defendant Toibert who is
black and what plaintiff has seen through the years with other blacks seen in the
area. Although plaintiff is not stating other blacks are a part of this complaint or that
other blacks are not committing non-serious offense[s] Plaintiff is stating that once
again look at his so-ca||ed alleged extensive rap sheet by defendants U of C campus
police and this Honorable Court decides whether plaintiff are committing any serious
offense or is plaintiff just plainly being harassed because he is black P|aintiff also has
notice through the years at that university by the hands of defendant U of C police
that white offenders are treated with more respect and professional courtesy than
black counterparts although, white offenders has committed the same caliber of
serious and non~ serious offenses as the blacks. P|aintiff has never seen white
offenders being wrestled down to the ground even after chases by defendant Ll of G
police P|aintiff suffered cruel and unusual punishment that was not appropriate for his
charge, mental anguishr stress1 unnecessary embarrassment unnecessary
humiliation over a period of twenty years. P|aintiff in 1991 had a case upgraded from
misdemeanor to felony based on the defendant U of C police background then as
stated by plaintiffs lawyer that you are always being somewhere you don't belong
P|aintiff case was subsequently upgraded to burglary and sentenced to four years
lDOC. based on those erroneous facts of defendant U of C police. P|aintiff Tolbert was
once anested at the U of C hospital by the defendant campus police while he was the
with a doctor and the Chicago police told defendants U of C police after plaintiff was
taken to 29”‘ and Prsirie police station in esa plaintiff right back where you round him
plaintiff was not processed and!or logged by the Chicago police because it was an
illegal detentionl P|aintiff Tolbert has over the years in the past while living in the Hyde
Park area the defendant U of C police had pictures of plaintiff on trees around Hyde
F'ark and in building vestibules stating plaintiff was an office burglar and call police if
anyone see plaintiff in area, although plaintiff has never been arrested for burglarizing
any offices around the U of C or any offices in the Hyde Part< area a very humiliating
unnecessary malicious public embanassment_ P|aintiff asked to be taken to the
hospital when Chicago police transported him to the Chicago police station because
plaintiff was in excn.rciating pain and the CPD saw the wounds CPD thought l was
breaking out from AlDS or something. P|aintiff is very healthy P|aintiff does not or has
never used drugs or dranked strong alcohol. That was another public embarrassment
to be treated like an oulcast. P|aintiff has been laid-off from his employment and
cannot afford to retrieve his ford escort from tl're auto pound on 103“‘ and doty road
P|aintiff Tolbert has now have to tell his parole agent he has been an'ested with a

 

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possible violation back to IDOC unnecessarily plaintiff has been working steadily had
his own apartment car insurance and doing pretty well upon his release from lDOC
this past ..luly 2B, 2004_

P|aintiff Tolbert cannot afford an attorney for this civil complaint he is pro se while still
being under the lDOC- jurisdiction Plaintiff states to this Honorable Court that if he is
looking andfcr have found some gainful employment in areas surrounding that
Defendant l.l of C he will be harassed by the defendants by getting arrested

REMEDY

Plaintiff Tolbert is asking this Honorable Court to grant compensatory
damages to plaintiff : of Clne Mil|ion Do|lars, ($1000.000} 1 fr'om each defendant
jointly and severally

Plaintiff is asking this Honorable Court to grant punitive damages to plaintiff
for undue stress, mental anguishl undue pain and suffering, undue harassment
undue discrimination based on his race in the amount of: ONE Mll.LlON DOLLARS,
($1,000,000) jointly and severally, and any other compensation this Honorable Court
feels is just and equitable in the interest of faimess if not justice P|us the cost of this
civil aCtiGn

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DATEDZ Febl‘uary 1, 2005 SiGNATUREZ

 

 

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SEl_F NDTARY
l, GEORGE T‘ClLEi»EftT1 duly swear under the penalty of perjury,
pursuant to 28 U. S. C, 1746 and 18 U. S. C. 1621 and as provided by law certifies
that the statements set forth herein are true and correct and undersigned by the
above-named plaintiff on this 1 day of February, 2005

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